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                       Ann Nicholson Haralambie, Attorneys, P.C.
                            3661 N. Campbell Avenue, #130
                              Tucson, Arizona 85719 1527
                                     520/327 6287
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ReportReport #1909158544Crime TypeSUSPICIOUS CIRCUMSTANCESReport Time9/15/19,
10:46 PMCrime Time09/15/2019 710Crime Address5900 N CAMINO DEL CONDE
TUCSON, AZ 85719Reported ByNameBOGDAN RADUSexMaleDOB08/27/1975Address14A
N HOHSTRASSE Apt. MERZALBENPhoneEmailRADUBO@YAHOO.COMVictimNameO
S      R    SexMaleDOB        /2013Address5900 N CAMINO DEL CONDE
TUCSON, AZ 85719PhoneHome: (520) 4060552EmailSuspectNamePERSEPHONE SHONSexFe
maleDOB08/05/1978AppearanceRace: Other Height: 5 8" Weight: 177 Hair: Unknown Eyes: Haze
l Age: 41VehicleYear: 2014 Make: SUBARU Model: OUTBACK State: AZ Color: Blue Style: Station
WagonNarrative/Witness StatementHELLO TUCSON POLICE DEPARTMENT, MY NAME IS
BOGDAN RADU, BORN 27 AUG 1975. I AM A US CITIZEN AND EU NATIONAL (ROMANIAN
CITIZEN AND GERMAN RESIDENT). I LIVE ON HOHSTRASSE 14A, MERZALBEN, GERMANY,
66978. MY PHONE NUMBER IS +4917683047802. MY CHILDREN O                 S      R      ,
BORN           2013 AND M            S    R     , BORN       2016 HAVE BEEN TAKEN
ON A VACATION STATESIDE BY MY ESTRANGED WIFE PERSEPHONE JOHNSON SHON, BORN
5 AUG 1978. ACCORDING TO HER LATEST ACCOUNTS SHE RESIDES AT 5900 NORTH CAMINO
DEL CONDE, TUCSON, AZ, 85718. HER EMAIL ADDRESS IS CHUNKSTERMOMMA@GMAIL.COM
AND US PHONE NUMBER IS 520-850-8881. THE TWO CHILDREN ARE ALSO LEGITIMATE EU
CITIZENS OF ROMANIA AND LEGAL EU RESIDENTS OF GERMANY IN ADDITION TO BEING
ALSO US CITIZENS. THEY HAVE PROPER GERMAN RESIDENT EU IDENTIFICATION CARDS
WHICH PROVES THEIR LEGAL STATUS AS BEING EU CITIZEN FAMILY MEMBERS. THEIR MOM
IS ALSO AN EU RESIDENT WITH AN EU ID CARD TOO. THEIR GERMAN ID CARDS ARE IN
HER POSESSION. SHE REFUSES TO RETURN BACK WITH THE CHILDREN TO GERMANY AND
IS BEING AIDED, ABETTED AND HELPED BY HER PARENTS, DR. BRIAN SHON AND DR. JANET
JOHNSON, WHO ARE THE OWNERS OF THAT HOME. CHARGES: 1. HUMAN SMUGGLING OF 2
MINOR EU CITIZENS UNDER THE AGE OF 7 OUTSIDE THEIR LEGAL PLACE OF APPROVED
RESIDENCE AND APPROVED SCHOOL HERE IN GERMANY AS THIS ACTION IS AGAINST
THEIR WILL AND CONSENT. 2. TRAFFICKING OF 2 MINORS UNDER THE AGE OF 7 ACROSS
INTERNATIONAL BORDERS IN VIOLATION OF EU FRONTEX AND EU BORDER REGULATIONS
WITHOUT THE WRITTEN APPROVAL OF THE OTHER PARENT WHO IS AN EU CITIZEN. 3.
KIDNAPPING, ABDUCTION AND FALSE IMPRISONEMENT OF MINORS UNDER THE AGE OF 7
WHO HAVE BEEN BARRED OR UNABLE TO REACH THEIR FATHER IN OVER 2 MONTHS NOW.
4. FALSE ENROLLMENT OF MINORS UNDER THE AGE OF 7 IN AN UNSANCTIONED SCHOOL IN
TUCSON WITHOUT THE CONSENT OF THEIR FATHERSignatureBOGDAN RADU
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                                                          January 22, 2020

Ms. Persephone Johnson Shon
5900 North Camino Del Conde
Tuscon, AZ 85719 USA

Dear Ms. Shon:

        We are writing to inform you that the Government of Germany has forwarded to
us an application from Mr. Bogdan Radu who is seeking assistance under the Hague
Convention on the Civil Aspects of International Child Abduction in returning O
and M            S    R      to Germany.

        On December 1, 1990, the 1980 Hague Convention on the Civil Aspects of
International Child Abduction (Hague Convention) entered into force between the United
States and Germany. The Hague Convention establishes a framework whereby a child
who is habitually resident in one contracting country, and who has been wrongfully
removed to or retained in another contracting country, may be promptly returned to the
country of habitual residence so that the court there may resolve custody and access
matters. The Hague Convention also establishes circumstances under which a court is
not required to return a child to his/her habitual residence.

         The Department of State, Office of Children's Issues, performs the functions of
Central Authority for the United States under the Convention. Pursuant to Article 10 of
the Convention, the Central Authority of the country where the child is located must
“take or cause to be taken all appropriate measures in order to obtain the voluntary return
of the child.” We write today to ask whether you are interested in working with Mr.
Radu, and any professionals which you may find helpful such as an attorney, mediator,
and/or social worker to facilitate the resolution of your family’s conflict without engaging
in litigation.

        Please note that the Convention does not specifically address the issue of who
should have custody of the child, but rather addresses the question of where custody
should be decided. The Hague Convention’s objective is to protect children from the
harmful effects of wrongful removal or retention by establishing procedures to ensure
their prompt return to the country of their habitual residence, where custody can best be
decided, as well as to secure protection for rights of access.

        For your convenience, our website at childabduction.state.gov offers information
about the Hague Convention, its implementing legislation, and how the Hague
Convention is implemented in the United States. We encourage you to review this
information carefully. If you do not have access to the Internet, please contact Kimberly
Lopez at 202-485-6328 or lopezK2@state.gov for printed information. After reviewing
the information, we ask you to advise Kimberly Lopez by February 5, 2020 as to when
and how this matter will be resolved.
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         If we have not received your response by February 5, 2020, or if you elect not to
return the child to Germany and/or come to some resolution that is mutually agreeable to
you and Mr. Radu, then we, as the U.S. Central Authority, will be obligated under Article
7(f) of the Convention to continue processing the application and to facilitate the
initiation of judicial proceedings by Mr. Radu to have a court in the United States
determine Octavian and Maximilian’scountry of habitual residence and where custody
should be decided. Please note that, as with all documents about your child held in State
Department records, we may disclose any response to this letter to individuals or entities
in accordance with U.S. law, including to Mr.Radu and/or his legal representative. Please
do not hesitate to contact Kimberly Lopez if you have any further questions or need
additional information.

       We look forward to your favorable reply.


Sincerely,


Tristan Spiceland
Branch Chief, EUR Abductions
Office of Children’s Issues
U.S. Central Authority for the Hague Abduction Convention
U.S. Department of State
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